UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF 'I`ENNESSEE

 

 

 

 

WILLIE CARNEY,
Plaintiffs, No. 1-04-1253-T-An
JURY TRIAL DEMANDED
vs.
THE PROCTER & GAMBLE MANUFACTURING
COMPANY, a corporation,
Defendant.
RODNEY CLARK,
Plaintiffs, No. 1-04-1254-T-An
]'URY TRIAL DEMANDED
vs.
THE P`ROCTER & GAMBLE MANUFACTURING
COMPANY, a corporation,
Defendant.
FRED JONES,
Plaintiffs, No. 1-04-1256-T-Ma
JURY TRIAL DEMANDED

VS.

THE PROCTER & GAMBLE MANUFACTURING
COMPANY, a corporation,

Defendant.

 

ORDER

 

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This cause comes before the court on Plaintiffs‘ motion to extend time to respond to
Defendant's motion for protective order. Upon due consideration of Plaintiffs‘ motion and the
record in this cause, the Court finds that the motion is Well taken and should be granted

ACCORDINGLY, IT IS HEREBY, ORDERED, ADJUDGED AND DECREED, that
Plaintiffs motion to extend time shall be granted and that Plaintiffs shall have until August 2,

2005 in which to respond to Defendant's motion for protective order.
ENTER THIS @’£ DAY oF zé{/¢/,-Q¢¢L ,2005.

/_,______
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S. THOMAS ANDERSON

UNITED STATES MAGISTRATE JUDGE

 

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This notice confirms a copy of the document docketed as number 23 in
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ESSEE

 

R. LaWrence Ashe
ASHE & RAFUSE7 LLP
1355 Peachtree St., NE
Ste. 500

Atlanta, GA 30309--323

J ames J. SWartZ

ASHE RAFUSE & H[LL LLP
1355 Peachtree St., N.E.

Ste. 500

Atlanta, GA 30309--323

Cynthia G. Burnside
ASHE & RAFUSE7 LLP
1355 Peachtree St., NE
Ste. 500

Atlanta, GA 30309--323

Larry Montgomery
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/lemphis7 TN 38103

Stephen D. Wakefleld

WYATT TARRANT & COl\/[BS
P.O. Box 775000

1\/lemphis7 TN 38177--500

Venita Marie Martin
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/lemphis7 TN 38103

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Adam F. Glankler
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/lemphis7 TN 38103

Honorable J ames Todd
US DISTRICT COURT

